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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA

                                 WEST PALM BEACH DIVISION

                                          IN ADMIRALTY

  UNIBANK FOR SAVINGS
  a Massachusetts for Profit Corporation,
                                                               Case No.
         Plaintiff,

  v.

  M/Y SUNEETA II, her engines, machinery,
  tackle, apparel, boats, furniture, equipment, rigging,
  freights, and all other necessary appurtenances, etc.,
  in rem, and RISHI KUMAR KAPOOR, in personam,
  and JENNIE ELIZABETH FRANK KAPOOR,
   in personam

        Defendant(s).
  ___________________________________________/

                                      VERIFIED COMPLAINT

         COMES NOW, Plaintiff, UNIBANK FOR SAVINGS (“Unibank” or “Plaintiff”), by and

  through the undersigned counsel and files its Verified Complaint and Request for Supplemental

  Rule C Attachment and Arrest against Defendant, M/Y SUNEETA II a 68’ 2023 Princess motor

  yacht, Hull Identification number VSC72041B323, along with her engines, machinery, tackle,

  apparel, boats, furniture, equipment, rigging, freights, and all other necessary appurtenances, etc.

  (the “Vessel”), in rem, and Defendants, RISHI KUMAR KAPOOR (“Rishi Kapoor”) and JENNIE

  ELIZABETH FRANK KAPOOR (“Jennie Kapoor”) (collectively the “Kapoor Defendants”), in

  personam, and alleges as follows:




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                             JURSIDICTION, VENUE AND PARTIES

          1.      This is an admiralty and maritime claim within the meaning of Rule 9(h) of the

  Federal Rules of Civil Procedure. This case falls under this Court’s admiralty jurisdiction pursuant

  to 28 U.S.C. § 1333 and is brought under the provisions of Rule C and E of the Supplemental

  Rules of Certain Admiralty and Maritime Claims and Local Admiralty Rule C of the General

  Maritime Law of the United States of America.

          2.      This Court has supplemental jurisdiction over Count II pursuant to U.S.C. § 1367

  because Count II is so related to the claims in Count I that they form the same case or controversy.

          3.      Plaintiff, Unibank, is a for profit corporation incorporated under the laws of the

  State of Massachusetts with its principal office located at 49 Church Street, Whitinsville,

  Massachusetts 01588, and doing business in the State of Florida.

          4.      Defendant, M/Y SUNEETA II, Hull Identification number VSC72041B323, is a

  65’2023 Princess motor yacht (the “Vessel”). The Vessel is currently in Palm Beach County,

  Florida and within the waters of this District.

          5.      Defendant, Rishi Kapoor, is a resident of Miami-Dade County, Florida and a citizen

  of the State of Florida, and is otherwise sui juris.

          6.      Defendant, Jennie Kapoor, is a resident of Miami-Dade County, Florida and a

  citizen of the State of Florida, and is otherwise sui juris.

          7.      The Kapoor Defendants are the record owners of the Vessel.

          8.      This Court has in rem jurisdiction over the Vessel pursuant to Rule C of the

  Supplemental Rules of Certain Admiralty and Maritime Claims.

          9.      Venue is proper within the Southern District of Florida pursuant to the provisions

  of 28 U.S.C. § 1391, and under the General Maritime Law of the United States, as Plaintiff is doing




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  business within the District and the Vessel is located within this District and the waters of the State

  of Florida and Palm Beach County.

         10.     Upon information and belief, the Vessel remains within the Southern District of

  Florida and is presently located in Palm Beach County on navigable waters of the United States.

                                      STATEMENT OF FACTS

         11.     On February 6, 2023, Defendants submitted an Application for Financing for the

  Vessel. See Exhibit A, the “Finance Application.”

         12.     According to Schedule D of the Finance Application, Defendants represented they

  owned the real property located at 7233 Los Pinos Blvd., Coral Gables, Florida, 33134 (“Los Pinos

  Property”) free and clear of any mortgages or contracts payable. See Exhibit A.

         13.     On March 13, 2023, based on the representations made by the Kapoor Defendants

  in the Finance Application, Plaintiff agreed to lend Defendants Four Million Two Hundred Eighty-

  Two Thousand Two Hundred Thirty-Five and 00/100 Dollars ($4,282,235.00) secured by a First

  Preferred Ship’s Mortgage (the “Ship’s Mortgage”) on the Vessel, together with the Vessel’s

  engines, equipment and appurtenances, and a security interest in and to other personal property on

  or about the Vessel. See Exhibit B, the Ship’s Mortgage.

         14.     In exchange for entering into the Ship’s Mortgage, Defendants execute a

  Promissory Note (the “Promissory Note”) for Four Million Two Hundred Eighty-Two Thousand

  Two Hundred Thirty-Five and 00/100 Dollars ($4,282,235.00). See Exhibit C.

         15.     Defendants’ representation in paragraph 11 supra was false.

         16.     On November 18, 2021, a mortgage was secured on the Los Pinos Property in the

  amount of Four Million Four Hundred Eighty-One Thousand Two Hundred Fifty and 00/100

  Dollars ($4,481,250.00) (the “Los Pinos Mortgage”). See Exhibit D.




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            17.     On March 3, 2023, twenty-five (25) days after submitting the Finance Application,

  the Los Pinos Mortgage on the Los Pinos Property was amended and restated to increase the

  principal amount of the Los Pinos Mortgage from Four Million Four Hundred Eighty-One

  Thousand Two Hundred Fifty and 00/100 Dollars ($4,481,250.00) to Five Million Four Hundred

  Thousand and 00/100 Dollars ($5,400,000.00).             See Exhibit E, the “Amended Los Pinos

  Mortgage”.

            18.     Section 24(A) of the Mortgage states, inter alia: “I will be in default if: I have made

  a false or misleading statement about any important fact in this Mortgage or in the related

  Promissory Note, application, or any agreement ….”

            19.     Section 24(A) of the Ship’s Mortgage also states: “I will be in default if: …

  anything else happens that you in good faith and with reasonable cause believe may endanger my

  ability to pay this Mortgage.”

            20.     Due to the Kapoor Defendants’ false and misleading statements on the Finance

  Application, Defendants are in default of the Ship’s Mortgage and Promissory Note.

            21.     In 2023 alone, Defendant RISHI KAPOOR and/or Defendant JENNIE

  ELIZABETH FRANK KAPOOR have been named as a defendant in four lawsuits filed in Miami-

  Dade County, Florida which Plaintiff, in good faith and reasonable cause, believes endangers the

  Kapoor Defendants ability to pay the Ship’s Mortgage.1

            22.     Section 24(B) of the Mortgage states, inter alia: “If I am in default, you may require

  that the unpaid balance of the amount financed be paid in full with accrued interest….”

            23.     Section 24(C) of the Mortgage states:

               You have the right to repossess the Boat without a Court Order if I default
               under the Promissory Note or this Mortgage. Otherwise, you have the right
               to foreclose in Federal Court under the Maritime Laws of the United

  1
      2023-023102-CA-01; 2023-022189-CA-01; 2023-020285-CA-0; and 2023-019401-CA-01.


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              States. You may demand that I assemble the Boat and all equipment
              covered by this Mortgage.

              (emphasis added).

         24.      Section 24(D) of the Mortgage states: “Provided your repossession of the Boat is

  accomplished without a breach of peace, I agree to waive all defenses available to me under the

  Uniform Commercial Code or other applicable laws pertaining to such repossession.”

         25.      As a result of Defendants’ false and misleading statement on the Finance

  Application, the Kapoor Defendants are in default of the Ship’s Mortgage and Plaintiff is entitled

  to the unpaid balance of the Ship’s Mortgage to be paid in full with accrued interest.

         26.      Plaintiff alleges the Vessel is liable, in rem, for all amounts due under the Ship’s

  Mortgage.

         27.      Pursuant to the Commercial Instruments and Maritime Liens Act 46 U.S.C. § 31301

  et seq., Plaintiff has a maritime lien against the Vessel, its engines, machinery, boats, anchors,

  tackle, gear, furnishings, and all necessaries thereto appertaining, for making a fraudulent

  statement on the Finance Application, which renders Defendants in default of the Mortgage.

         28.      All conditions justifying the issuance of a maritime writ of attachment exist in this

  instance and Plaintiff is entitled to recover the full amount of its claims, plus interest, legal fees

  and costs from the Vessel in rem.

         29.      Plaintiff seeks to enforce the amount owed under the Promissory Note and

  Mortgage through the issuance of an arrest warrant for the Vessel and all necessary in rem

  procedures and proceedings thereafter.

   COUNT I – BREACH OF MORTGAGE AND FORECLOSURE OF MARITIME LIEN
                      AGAINST M/Y SUNEETA II, in rem




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          30.      Plaintiff realleges and reavers the allegations contained in paragraphs 1 through 28

  above as if fully set forth herein.

          31.      Plaintiff and Defendants entered into the Ship’s Mortgage whereby Plaintiff agreed

  to lend Defendants Four Million Two Hundred Eighty-Two Thousand Two Hundred Thirty-Five

  and 00/100 Dollars ($4,282,235.00) in exchange for the Promissory Note and secured by the Ship’s

  Mortgage on the Vessel.

          32.      Pursuant to the Ship’s Mortgage, the Kapoor Defendants are in default for making

  a false and misleading statement about any important fact in the Finance Application.

          33.      Pursuant to Section 24(C) of the Ship’s Mortgage, Plaintiff has the right to foreclose

  in Federal Court under the Maritime Laws of the United States.

          WHEREFORE, Plaintiff, UNIBANK FOR SAVINGS, requests this Court for the

  following:

          a) To enter judgment in favor of Plaintiff against the Kapoor Defendants and M/Y

                SUNEETA II her engines, machinery, tackle, apparel, boats, furniture, equipment,

                rigging, freights, and all other necessary appurtenances, etc. in rem for damages

                incurred because of the Kapoor Defendants’ default under the Ship’s Mortgage,

                together with prejudgment and post-judgment interest and costs, custodial costs, and

                for such other relief as deemed just and proper by this Court;

          b) That process be issued against the M/Y SUNEETA II her engines, machinery, tackle,

                apparel, boats, furniture, equipment, rigging, freights, and all other necessary

                appurtenances, etc., in rem;

          c) That all persons having any claim and interest therein may be cited to appear an answer

                before said matter see that Plaintiff be decreed to have a lien upon the in rem Defendant




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                 M/Y SUNEETA II, described herein and such lien be foreclosed in accordance with

                 the law and therefore that the Vessel be condemned and sold to pay the amount due

                 and all such other sums owed; and

           d) That Plaintiff be permitted to bid the amount of its lien collectively at the sale of said

                 Vessel at a U.S. Marshal’s sale. That upon notice of hearing, judgment be entered

                 against the in rem Defendant, together with prejudgment interest and costs and such

                 other and further relief as this Court may deem just and proper.

                            COUNT II – MORTGAGE FRAUD in personam

           34.      Plaintiff realleges and reavers the allegations contained in paragraphs 1 through 28

  above as if fully set forth herein.

           35.      The Kapoor Defendants submitted the Finance Application to Plaintiff to secure a

  loan for the Vessel.

           36.      On the Finance Application, the Kapoor Defendants knowingly misrepresented to

  Plaintiff that the Los Pinos Property was owned by the Kapoor Defendants free and clear of all

  liens.

           37.      This misrepresentation is material to the Plaintiff’s considerations when agreeing

  to grant the loan.

           38.      Relying on the Kapoor Defendants’ representation supra, Plaintiff and the Kapoor

  Defendants entered into the Ship’s Mortgage whereby Plaintiff agreed to lend the Kapoor

  Defendants Four Million Two Hundred Eighty-Two Thousand Two Hundred Thirty-Five and

  00/100 Dollars ($4,282,235.00) in exchange for the Promissory Note and secured by the Ship’s

  Mortgage on the Vessel.




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         39.    The Kapoor Defendants received funds from Plaintiff based on the Kapoor

  Defendants’ misrepresentations.

         40.    Because of the Kapoor Defendants’ misrepresentations, Plaintiff has suffered

  damages.

         41.    Plaintiff demands a sum in excess of Four Million Two Hundred Thousand

  ($4,200,000.00) as well as legal fees and expenses that are due and continuing to accrue plus all

  interest, fees and costs as payment under the Note and Loan Agreement.

          WHEREFORE, Plaintiff, requests this Court to enter judgment in favor of Plaintiff against

  the in personam Defendants RISHI KUMAR KAPOOR and JENNIE ELIZABETH FRANK

  KAPOOR as follows:

       a) for damages to be proven at trial;

       b) all prejudgment and post-judgment interest, attorneys’ fees, costs;

       c) and for such other relief as deemed just and proper by this Court.



   Dated: October 20, 2023                     Respectfully submitted,

                                               /s/ Nicholas J. Zeher
                                               Nicholas J. Zeher, Esq. (Fla. Bar No. 1003565)
                                               Robert E. Machate, Esq. (Fla. Bar No. 1003050)
                                               ROBERT ALLEN LAW
                                               249 Royal Palm Way, Suite 301
                                               Palm Beach Florida, 33480
                                               Tel.: (305) 372-3300
                                               Fax: (305) 379-7018
                                               Email: nzeher@robertallenlaw.com
                                                       rmachate@robertallenlaw.com
                                                       litigation@robertallenlaw.com

                                               Counsel for Plaintiff




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                                                         VERIFICATION

                     I, Christopher Foley am the President for UNIBANK FOR SAVINGS, the Plaintiff in this

            action, which is located in the State of Massachusetts. I am authorized to verify this Verified

            Complaint In Rem for Foreclosure of Maritime Lien (the “Verified Complaint”) on behalf of the

            Plaintiff.

                     I have read the Verified Complaint and am familiar with the facts and I verify under solemn

            affirmation that the facts alleged in the foregoing Verified Complaint are true and correct.

                     Pursuant to 28 U.S.C. § 1746, I declare under the penalty of perjury that the foregoing is

            true and correct to the best of my knowledge.

                                                                                 20
                                                             Executed on October ____, 2023


                                                             By: _________________________
                                                                 on Behalf of UNIBANK FOR SAVINGS
                                                                 CHRISTOPHER FOLEY
                                                                 President of Unibank




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